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, Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT

for the

Western District of New York

MICHAEL CORRIN STRONG

 

Plaintiffis)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-\V-

HOWARD ZUCKER MD,
COMMISSIONER
NEW YORK STATE DEPT. OF HEALTH

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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Division

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(to be filled in by the Clerk’ s Office)

Jury Trial: (check ene) [ | Yes AK

  
 
 

 
 

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

 

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nor contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

NOTICE

other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in

forma pauperis.

 

 

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?ro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

L. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

Michael Corrin Strong

 

17 Avon Road (P.O. Box 236)

 

Geneseo NY 14454

 

City State Zip Code
Livingston

 

585-233-5338
corrin07@ gmail.com

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. I

Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2
Name
Job or Title ( if known)
Address

County
Telephone Number
E-Mail Address (if known)

Howard Zucker MD

Commissioner, NYS Dept of Health

Corning Tower, Empire State Plaza

Albany NY 12237

 

City State Zip Code
Albany

 

 

L] Individual capacity Official capacity

 

 

 

 

City State Zip Code

 

 

 

[ ] Individual capacity [| Official capacity

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

IL.

Defendant No. 3
Name
Job or Title (if known)
Address

 

 

 

 

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

 

 

[| Individual capacity [| Official capacity

Defendant No. 4
Name
Job or Title (if known)
Address

 

 

 

 

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

 

 

[] Individual capacity [| Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[] Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Violation of equal protection under the 14th Amendment

 

Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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III.

 

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

On June 23, 2021 the State DOH adopted new regulations concerning masks for unvaccinated
people by adding a new Subpart 66.3 to the Covid Emergency Regulations. The claimed
authority for this was “Pursuant to authority granted to the Commissioner of Health by Sections
201, 206 abd 225 of the Public Health Law and Executive Order 202.” In addition, since
January of 2021 the State Health Department has been promoting use of the “Excelsior Pass” for
citizens of the state to prove their vaccinated status. Both these rules and associated programs
are discriminatory towards citizens who hae survived Covid and have the antibodies, and
actually represent a lesser health risk to the public than the vaccinated.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?

By adopting these new regulations and programs Defendant has attempted to create two classes
of citizens: The “Vaccinated” who are no longer required to wear masks and have preferential
access to many public accommodations, and the “Unvaccinated” who must mask up and are
denied access to many public accommodations

In doing so, people like the Plaintiff, who have had Covid and enjoy natural immunity from the
antibodies retained, are grouped with the “Unvaccinated.” There are two things wrong with this
classification.

First, the vaccinations currently in use have been shown not to prevent people from getting or
spreading Covid. They are only designed to limit the symptom of those who get it. Vaccinated
people remain able to catch and transmit the disease. In fact, many of the people becoming ill
from the current “Delta” variety of the virus have been “Fully” vaccinated. This fact has been
recognized by the CDC which has recently called for “fully” vaccinated people to continue to
wear face masks indoors.

Second, those who have had Covid and tested positive for the antibodies are extremely unlikely
to get the disease again and therefore actually represent a lesser threat to the general public than

the vaccinated. The preponderance of scientific evidence so far indicates that repeat cases are
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extremely rare, on the order of | in 5,000 and survivor’s are also mostly immune against the recent
“Delta” variety. So far there is little evidence that this acquired immunity will fade away over time, in
contrast to the so-called “immunity” given by vaccines. There is already talk of the need to get “‘boost-
er” vaccines to extend the immunity of the Vaccinated.

By failing to include Covid Survivors in the “Vaccinated” class of those not required to wear a mask
and are eligible for a “Excelsior Pass.” the State Health Department has violated the equal protection
clause of the 14th Amendment, in that people who have superior immunity from natural antibodies are
treated more strictly than those who’s immunity gained from vaccination is more limited.

Further, the NYS Health Department is using these punitive measures in effect to try to force an
experimental vaccination on people, which is a further violation of the Nuremberg Code. The current
vaccines in use are only allowed under an Emergency Use Declaration by the federal government.
They are considered to still be in a clinical trial which is not scheduled to end until 2023. It is a viola-
tion of the Nuremberg Code to force or try to coerce people into undergoing an experimental medical
treatment.

Further there is scientific evidence that those who already have Covid antibodies gain no further im-
munity from a vaccine, but may in fact put themselves at up to 4 times greater risk of having adverse
side effects from the vaccine.

At the encouragement of state and local health departments and in some cases by additional regula-
tions, the list of normal activities that these 2nd Class citizens are prohibited from engaging in is
growing. Many stores are starting to display signs requiring the “Unvaccinated” to wear masks, and
other businesses are not allowing the “Unvaccinated” to enter at all. This includes movie theatres,
sporting and musical venues, and in some parts of the state gyms.

The Health Department’s has adopted these coercive measures to try to bully a class of people who do
not need the vaccine and are more likely to have more severe side effects to get the vaccine. This kind
of coercion is illegal under the Nuremberg Code.

 

What date and approximate time did the events giving rise to your claim(s) occur?
6/23/2021 and ongoing

 

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

| and millions of other Covid survivors in NY State have been prevented from entering medical offices,
banks and other firms to conduct routine business without wearing a mask. We rae not eligible to
receive an "Excelsior Pass" which some businesses are requiring for entry even though our immunity is
greater than vaccinated people. Because of medical issues that | have, | can not medically tolerate a
mask. This impairs my right to conduct many routine activities that "First Class Citizens" enjoy. This
creation of two classes of citizens is illegal, insidious, increasing and must be stopped!

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

The injury is to my Constitutional right to be treated equally under the 14th Amendment.

 

Vv. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

| would like the court to strike down these new regulations, and any similar regulations, as a violation of the 14th

Amendment. | seek no monetary relief or punitive damages. In the alternative, | request that the court order the
State Health Department to change the rules of the Excelsior Pass to allow people with proven antibodies to

Covid to receive a pass.

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. Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

VI.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 08/10/2021

Signature of Plaintiff Wid (ans: Voas

Printed Name of Plaintiff Michael Corrin Strong

 

 

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code
Telephone Number
E-mail Address

 

 

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JS 44 (Rev. 08/18) CIVIL COVER SHEET —_— . an r Y |.

The JS 44 civil cover sheet and the information contained herein neither i bai nor ee een the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Mm "hal fee S fowl DEFENDANTS Hower D Zucker

yi L
(b) County of Residence of First Listed Plaintft (4 U i to A County of Residefice of First Listed Defendant A RAL
(EXCEPT IN U.S, PLAINTIFF CASES) ° PS ay ‘F CASES ONLY)

   
 

 

 

 

 

 

 

 

 

 

 

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(c) Attomeys (Firm Name, Address, and Telephone Number) Attomeys
IL BASIS OF JURISDICTION (Place an “X" in One Box Only) Ii. CITIZENSHIP OF P RINCIPAL PARTIES (Place an “X” in One Box for Plaintij)
ws (For Diversity Cases Only) and One Box for Defendant)
0 1 U.S. Government 3 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O1 01 Incorporated or Principal Place go4 04
of Business In This State
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Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation 06 O06
Foreign Country
IV. NATURE OF SUIT (lace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L CONTRACT TORTS. FORFEITURE/PENALTY BANKRUPTCY Or HER STATUTES ]
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O 160 Stockholders’ Suits G 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
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O 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act Cj 865 RSI (405(g)) Exchange
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Medical Malpractice Leave Act © 891 Agricultural Acts
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O 210 Land Condemnation x 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement O) 870 Taxes (U.S. Plaintiff © 895 Freedom of Information
O 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment © 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party 0 896 Arbitration
OC 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 © 899 Administrative Procedure
O 245 Tort Product Liability Accommodations 0 530 General Act/Review or Appeal of
Gj 290 All Other Real Property © 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: O 462 Naturalization Application O 950 Constitutionality of
Cj 446 Amer. w/Disabilities -] (1 540 Mandamus & Other {0 465 Other Immigration State Statutes
Other © 550 Civil Rights Actions
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Ct

Brief description of cause: Volt coal oF a val P roteck ‘ 6A Daher ld ch A \ aa

VI. CAUSE OF ACTION

 

 

 

 

VI. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cw.P. JURY DEMAND: O Yes \pHto
VII RELATED CASE(S)
instruct: is
IF ANY (See instructions): GE DOCKET NUMBER

 

 

| 2 SIGNATURE OF ATTORNEY OF RECORD

 

FOR OFFICE USE ONLY

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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AO 440 (Rev. 06/12) Summons in a Civi] Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

 

Mchacl Coceia Str ou

 

Plaintiff(s)

Civil Action No. 2 | C VAS 2) De [

HowarO Zucker, mp

" Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

war O Zucker, nD
os csiou€t } /vys Deft ef Health
Conmivg 7 —Towe Zmput 9:
[1 bao / uy 12237

A lawsuit has been filed against ml

Within 2] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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ote 0 2021 Woy © (rneiempete.

Signature of Clerk or Qgbury Clerk
